IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: December 16, 2016.

                                                              ________________________________________
                                                                         CRAIG A. GARGOTTA
                                                                 UNITED STATES BANKRUPTCY JUDGE
________________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

IN RE:                                               §
                                                     §
PRIMERA ENERGY, LLC                                  §                     CASE NO. 15-51396
21022 Gathering Oak #2101                            §
San Antonio, Texas 78260                             §
                                                     §
DEBTOR.                                              §                     CHAPTER 11


                                            FINAL DECREE

         On this date came on to be considered the Notice of Consummation and Application for

Final Decree filed by Jason R. Searcy, Trustee of the Primera Creditors’ Trust in the above

styled and numbered cause. The Court finds that the Application was properly served pursuant

to the Federal and Local Rules of Bankruptcy Procedure and that it contained the appropriate


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twenty-four (24) day negative notice language, pursuant to Local Rules of Bankruptcy Procedure

, which directed any party opposed to the granting of the relief sought by the Application to file a

written response within twenty-four days or the Application would be deemed by the Court to be

unopposed. The Court finds that no objection or other written response to the Application has

been timely filed by any party. Due to the failure of any party to file a timely written response,

the allegations contained in the Application stand unopposed. It appears to the Court that the

estate of the Debtor has been fully administered and that consummation has occurred. The Court

finds that good cause exists for the entry of the following order.

          IT IS THEREFORE ORDERED that the Notice of Consummation and Application for

Final Decree is hereby GRANTED; and

          BE IT FURTHER ORDERED that the Chapter 11 case of the above named Debtor is

closed.

                                       ### END OF ORDER ###




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